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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                             Case No. 8:16-BK-09932 RCT
                                                   Chapter 7
DAVID HERNANDEZ,
IRENE HERNANDEZ

          Debtor(s).
                                           /

                               CERTIFICATE OF SERVICE
                                     (Doc. No. 65)

         I HEREBY CERTIFY that on Tuesday, September 18, 2018, a true and correct copy of

the Order Allowing Administrative Expenses (Doc. No. 65) entered by the Court on September

18, 2018 was served by the U.S. Mail or where possible on the CM/ECF participants via

electronic delivery, on Debtor(s): David & Irene Hernandez; the Office of the U.S. Trustee, 501

E. Polk Street, Suite 1200, Tampa, FL 33602; and the attached mailing matrix.

         Dated: September 18, 2018

                                     /s/ Dawn A. Carapella
                                     Dawn A. Carapella, Trustee
                                     Chapter 7 Trustee
                                     P.O. Box 67
                                     Valrico, FL 33595-0067
                                     Telephone: (813) 685-8694
                                     E-mail: dcarapellatrustee@gmail.com
           Case 8:16-bk-09932-RCT         Doc 66
                                              65    Filed 09/18/18    Page 2
                                                                           1 of 5
                                                                                2



                                     ORDERED.

     Dated: September 18, 2018




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                         )
DAVID HERNANDEZ                                )      Case No. 8:16-BK-09932 RCT
IRENE HERNANDEZ                                )      Chapter 7
                                               )
       Debtors.                                )

                  ORDER ALLOWING ADMINISTRATIVE EXPENSES

        This case came on for consideration on Trustee’s Final Report (Doc. No. 61) and
Applications for Compensation (Doc. No. 60). The United States Trustee has reviewed the final
report. All creditors and parties in interest have been given notice and the opportunity for a
hearing of all pending applications for compensation and all pending administrative claims. All
objections, if any, are resolved. It is therefore,

       ORDERED:

       1. The following expenses of administration which have not been paid are allowed, and
          the trustee is directed to pay these expenses to the person(s) so indicated.

          Application or Reason                                      Fees           Expenses
          DAWN A. CARAPELLA, Trustee                           $       512.81 $          76.19

          TOTAL COSTS OF ADMINISTRATION ORDERED PAID:                           $       589.00

       2. The following expenses of administration which have been previously paid without
          entry by the court of a specific order authorizing payment of them are allowed as
          indicated:

          NONE
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       3. The Trustee has reported to the Court that no remaining assets are susceptible of
          liquidation and that any remaining assets are burdensome and should be abandoned.
          That abandonment is authorized.


                                         ***

Dawn A. Carapella, Trustee, is directed to serve a copy of this Order on interested parties and
file a Proof of Service within three (3) days of the entry of the Order.
Label Matrix for local noticingCase 8:16-bk-09932-RCT
                                              Richard M DauvalDoc 66 Filed 09/18/18           Page
                                                                                               David 4 of 5
                                                                                                     Justo Hernandez
113A-8                                        Leavengood, Nash, Dauval & Boyle                 6237 Dewdrop Way
Case 8:16-bk-09932-RCT                        3900 First Street North, Suite 100               Temple Terrace, FL 33617-1734
Middle District of Florida                    St. Petersburg, FL 33703-6109
Tampa
Tue Sep 18 10:22:34 EDT 2018
Irene Hernandez                               Capital One                                      Capital One Bank (USA), N.A.
6237 Dewdrop Way                              Po Box 30285                                     PO Box 71083
Temple Terrace, FL 33617-1734                 Salt Lake City, UT 84130-0285                    Charlotte, NC 28272-1083



Citibank                                       Citibank                                        Citibank/Sunoco
Citicorp Cr Srvs                               Citicorp Credit Srvs                            Citicorp Credit Card/Centralized Bankrup
Po Box 790040                                  Po Box 790040                                   Po Box 790040
S Louis, MO 63179-0040                         Saint Louis, MO 63179-0040                      St Louis, MO 63179-0040


Citibank/The Home Depot                        Coldwater Creek                                 Credit First N A
Citicorp Cr Srvs/Centralized Bankruptcy        1176 E. Dayton Yellow Spring                    6275 Eastland Rd
Po Box 790040                                  Fairborn, OH 45324-6324                         Brookpark, OH 44142-1399
S Louis, MO 63179-0040


Credit First NA                                Global Credit & Collections                     LVNV Funding
PO Box 818011                                  5440 N Cumberland Ave.                          Po Box 10497
Cleveland OH 44181-8011                        Suite 300                                       Greenville, SC 29603-0497
                                               Chicago, IL 60656-1486


LVNV Funding, LLC its successors and assigns   PYOD, LLC its successors and assigns as assi    (p)PORTFOLIO RECOVERY ASSOCIATES LLC
assignee of FNBM, LLC                          of Citibank, N.A.                               PO BOX 41067
Resurgent Capital Services                     Resurgent Capital Services                      NORFOLK VA 23541-1067
PO Box 10587                                   PO Box 19008
Greenville, SC 29603-0587                      Greenville, SC 29602-9008

Sun Trust                                      SunTrust Bank                                   Suntrust Bk Tampa Bay
PO Box 4997                                    Attn: Support Services                          Attn:Bankruptcy Dept
Orlando, FL 32802-4997                         P.O. Box 85092                                  Po Box 85092 Mc Va-Wmrk-7952
                                               Richmond, VA 23286-0001                         Richmond, VA 23285-5092


Synchrony Bank                                 Synchrony Bank/Care Credit                      Synchrony Bank/Stein Mart
c/o PRA Receivables Management, LLC            Po Box 965064                                   Po Box 965064
PO Box 41021                                   Orlando, FL 32896-5064                          Orlando, FL 32896-5064
Norfolk VA 23541-1021


Visa Dept Store National Bank                  Wells Fargo Bank Card                           Wells Fargo Bank, N.A.
Attn: Bankruptcy                               Mac F82535-02f                                  Wells Fargo Card Services
Po Box 8053                                    Po Box 10438                                    PO Box 10438, MAC F8235-02F
Mason, OH 45040-8053                           Des Moines, IA 50306-0438                       Des Moines, IA 50306-0438


Wells Fargo Home Mor                           Zakheim & Associates                            Michael Barnett +
Correspondence                                 113 S. University Dr.                           Michael Barnett, PA
Mac#2302-04e Pob 10335                         Plantation, FL 33324                            506 N. Armenia Ave.
Des Moines, IA 50306                                                                           Tampa, FL 33609-1703
United States Trustee - TPA7/13Case
                                +   8:16-bk-09932-RCT
                                              Richard M DauvalDoc
                                                               + 66 Filed 09/18/18                        Page
                                                                                                           Richard5 MofDauval,
                                                                                                                         5 Attorney for Trustee +
Timberlake Annex, Suite 1200                  LeavenLaw                                                     LeavenLaw
501 E Polk Street                             3900 First Street North, Suite 100                            3900 First Street North, Suite 100
Tampa, FL 33602-3949                          St. Petersburg, FL 33703-6109                                 St. Petersburg, FL 33703-6109


Adam S Russo +                                         Thomas A Lash, Attorney for Trustee +                Dawn A Carapella +
Lefkoff Rubin Gleason and Russo, PC                    Lash, Wilcox & Grace PL                              P.O. Box 67
5555 Glenridge Connector                               4950 W. Kennedy Blvd., Suite 320                     Valrico, FL 33595-0067
Suite 900                                              Tampa, FL 33609-1830
Atlanta, GA 30342-4762

Neisi L Garcia Ramirez +
Brook & Scott, PLLC
1501 NW 49th Street, Suite 200
Ft. Lauderdale, FL 33309-3723




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery                                     (d)Portfolio Recovery Associates, LLC
Po Box 41067                                           POB 41067
Norfolk, VA 23541                                      Norfolk VA 23541




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)SunTrust Bank                                       (u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                       Brock & Scott, PLLC                                  Mailable recipients      36
                                                       c/o Neisi I. Garcia Ramirez, Esq.                    Bypassed recipients       2
                                                       PO. Box 25018                                        Total                    38
                                                       Tampa
